               Case: 1:10-cr-00773 Document #: 92 Filed: 05/06/20 Page 1 of 2 PageID #:641

                          United States District Court Northern District of Illinois
                          MOTION FOR LEAVE TO APPEAR PRO HAC VICE
Case Title:                                                                                                          Plantiff(s)
                       United States of America
                                                                            VS.

                                                                                                                     Defendant(s)
                       Sami Samir Hassoun

Case Number:           1:10-CR-00773                              Judge: Robert Gettleman


I,    Amith Gupta                                                                                           hereby apply to the Court

under Local Rule 83.14 for permission to appear and participate in the above-entitled action on behalf of

Sami Hassoun                                                                                       by whom I have been retained.

I am a member in good standing and eligible to practice before the following courts:
                                                Title of Court                                                          Date Admitted
                                       Georgia State Courts                                                               12/2019
                                       New York State Courts                                                               5/2018




I have currently, or within the year preceding the date of this application, made pro hac vice applications to this
Court in the following actions:
                                                                                                            Date of Application
     Case Number                                            Case Title                                      (Granted or Denied)*




*If denied, please explain:
(Attach additional form if
necessary)
Pursuant to Local Rule 83.15(a), applicants who do not have an office within the Northern District of Illinois must designate, at the
time of filing their initial notice or pleading, a member of the bar of this Court having an office within this District upon who service of
papers may be made.

                                   Has the applicant designated local counsel?        Yes                   No      X
If you have not designated local counsel, Local Rule 83.15(b) provides that the designation must be made within thirty (30) days.
               Case:
Has the applicant       1:10-cr-00773
                  ever been:                 Document #: 92 Filed: 05/06/20 Page 2 of 2 PageID #:642
sanctioned, censured, suspended, disbarred, or otherwise disciplined by                                               X
any court?                                                                            Yes                        No


or is the applicant currently the subject of an investigation of the                  Yes                        No   X
applicant’s professional conduct?

transferred to inactive status, voluntarily withdrawn, or resigned from the           Yes                        No   X
bar of any court?

                                                                                      Yes                        No   X
denied admission to the bar of any court?

                                                                                      Yes                        No   X
held in contempt of court?
NOTE: If the answer to any of the above questions is yes, please attach a brief description of the incident(s) and the applicant’s current
status before any court, or any agency thereof, where disciplinary sanctions were imposed, or where an investigation or investigations
of the applicant’s conduct may have been instituted.

I have read the Rules of Professional Conduct for the Northern District of Illinois and the Standards for Professional Conduct within
the Seventh Federal Judicial Circuit, and will faithfully adhere to them. I declare under penalty of perjury that the foregoing is true and
correct.


5/5/2020                                                 S/   Amith Gupta
                 Date                                               Electronic Signature of Applicant

                            Last Name                                 First Name                                      Middle Name/Initial
Applicant’s Name
                           Gupta                                     Amith                                            R
Applicant’s Law Firm       Amith Gupta, Esq.
                            Street Address                                                                            Room/Suite Number
Applicant’s Address
                           848 Spring St. NW                                                                          812-C
                                                                                       Work Phone Number
                            City                        State         ZIP Code         202-627-0747


                           Atlanta                     GA            30308             Email Address
                                                                                       amith@civilfreedoms.org


(The pro hac vice admission fee is $150.00 and shall be paid to the Clerk. No admission under Rule 83.14 is effective until such
time as the fee has been paid.)


NOTE: Attorneys seeking to appear pro hac vice may wish to consider filing a petition for admission to the general bar of this Court. The
      fee for admission to the General Bar is $181.00 The fee for pro hac vice admission is $150.00. Admission to the general bar
      permits an attorney to practice before this Court. Pro hac vice admission entitles an attorney to appear in a particular case
      only. Application for such admission must be made in each case; and the admission fee must be paid in each case.




         Rev. 11/13/2019
